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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 STATE OF ALASKA,

      Plaintiff,                             Civil Action No.: 3:23-cv-00007-SLG

 v.
                                             STATE OF ALASKA’S MOTION
 BRYAN NEWLAND, in his official              FOR SUMMARY JUDGMENT
 capacity as Assistant Secretary, Indian     AND MEMORANDUM IN
 Affairs, U.S. Department of the Interior;   SUPPORT
 and U.S. DEPARTMENT OF THE
 INTERIOR,

      Defendants, and

 CENTRAL COUNCIL OF THE TLINGIT
 & HAIDA INDIAN TRIBES OF
 ALASKA,

      Intervenor-Defendant.




          Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 1 of 61
                                                TABLE OF CONTENTS
INTRODUCTION ............................................................................................................. 10
STATEMENT OF THE CASE ......................................................................................... 13
I.     Historical and Statutory Background. ....................................................................... 13
      A.       The purchase of Alaska and the Organic Act. .................................................. 13

      B.       Trust land is Indian country. ............................................................................. 15

      C.       Reservation policy in Alaska. ........................................................................... 17

      D.       The limited impact of the IRA land provisions prior to ANCSA and the public
               sentiment regarding reservations in Alaska. ..................................................... 20

      E.       The reservation issue persists during statehood discussions. ........................... 23

      F.       Congress rejects the reservation model and Indian country. ............................ 24

      G.       The Secretary’s authority—or lack thereof—following ANCSA. ................... 28

II.    Assistant Secretary Newland Grants the Central Council’s petition to take its fee
       land into trust to restore the tribe’s “traditional homelands.” ................................... 34
STANDARD OF REVIEW ............................................................................................... 37
ARGUMENT..................................................................................................................... 39
I.     Whether to create Indian country in Alaska post-ANCSA is a “major question”
       requiring clear congressional authorization. ............................................................. 40
II.    The Secretary does not have clear congressional authority to create Indian country.
       ................................................................................................................................... 45
      A.       Post-ANCSA, the Secretary does not have the authority to create Indian
               country in Alaska. ............................................................................................. 45

      B.       Even prior to ANCSA, the Alaska IRA limited the Secretary’s authority for
               most Alaska tribes. ............................................................................................ 49

CONCLUSION ................................................................................................................. 60




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 2 of 61

           Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 2 of 61
                                         TABLE OF AUTHORITIES

Cases
Akiachak Native Community v. Salazar,
      935 F.Supp.2d 195 (D.C. Ct. 2013)........................................................................ 33
Akiachak Native Cmty. v. U.S. Dep’t of Interior,
      827 F.3d 100 (D.C. Cir. 2016) ............................................................................... 33
Alaska v. Native Village of Venetie Tribal Government,
      522 U.S. 520 (1998) ..................................................... 16, 26, 27, 28, 44, 45, 46, 47
Biden v. Nebraska,
      143 S. Ct. 2355 (2023) ..................................................................................... 41, 60
Cape Fox Corp. v. U.S.,
      4 Cl. Ct. 223 (U.S. Ct. Cl. 1983) ............................................................................ 48
Carcieri v. Salazar,
      555 U.S. 379 (2009) ................................................................................... 35, 51, 59
Christensen v. Harris Cnty.,
       529 U.S. 576 (2000) ............................................................................................... 38
Decamps v. United States,
     570 U.S. 254 (2013) ............................................................................................... 42
E.E.O.C. v. Peabody Western Coal Co.,
      773 F.3d 977 (9th Cir. 2014) .................................................................................. 18
Fed. Power Comm’n v. Idaho Power Co.,
      344 U.S. 17 (1952) ................................................................................................. 37
FDA v. Brown & Williamson,
      529 U.S. 120 (2000) ......................................................................................... 39, 45
Hynes v. Grimes Packing Co,
      337 U.S. 86 (1949) ............................................................................... 15, 21, 42, 58
In re Sah Quah,
       31 F. 327 (D. Alaska 1886) .................................................................................... 52
Langley v. Ryder,
      778 F.2d 1092 (5th Cir. 1985) ................................................................................ 16
Larson v. Saul,
      967 F.3d 914 (9th Cir. 2020) .................................................................................. 38
Loper Bright Enterprises v. Raimondo,
      No. 22-451, 143 S. Ct. 2429 (2023). ...................................................................... 38


State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 3 of 61

           Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 3 of 61
Mescalero Apache Tribe v. Jones,
      411 U.S. 145 (1973) ............................................................................................... 50
Metlakatla Indian Community, Annette Islands Reserve v. Egan,
      369 U.S. 45 (1962) ............................................................................... 11, 16, 17, 52
Montana v. Blackfeet Tribe of Indians,
     471 U.S. 759 (1985) ............................................................................................... 39
Morton v. Mancari,
      417 U.S. 535 (1974) ............................................................................................... 53
Native Village of Eyak v. Blank,
       688 F.3d 619 (9th Cir. 2012) .................................................................................. 44
Sac & Fox Tribe of Indians of Okla. v. United States,
      383 F.2d 991 (Ct. Cl. 1967).................................................................................... 44
Sackett v. EPA,
       143 S. Ct. 1322 (2023) ........................................................................................... 41
San Luis & Delta-Mendota Water Auth. v. Locke,
      776 F.3d 971 (9th Cir. 2014) .................................................................................. 37
Skidmore v. Swift & Co.,
      323 U.S. 134 (1944) ............................................................................................... 38
State of Alaska ex rel. Yukon Flats School Dist. v. Native Village of Venetie Tribal Gov’t,
       101 F.3d 1286 (9th Cir. 1996) .......................................................................... 26, 39
Sturgeon vs. Frost (Sturgeon I),
      577 U.S. 424 (2016) ............................................................................. 10, 11, 13, 23
Sturgeon vs. Frost,
      139 S. Ct. 1066 (2019) ........................................................................................... 10
Tee-Hit-Ton Indians v. United States,
      348 U.S. 272 (1955) ............................................................................................... 15
Tlingit and Haida Indians of Alaska v. United States,
       177 F. Supp. 452 (Ct. Cl. 1959) ............................................................................. 14
United States v. Atlantic Richfield Co.,
      435 F. Supp. 1009, 1015 (D. Alaska 1977), aff’d, 612 F.2d 1132 (9th Cir. 1980),
      cert. denied, 449 U.S. 888 (1980) .............................................................. 11, 13, 14
United States v. Atlantic Richfield Co.,
      612 F.2d 1132 (9th Cir. 1980) ................................................................................ 39
United States v. Libby,
      107 F. Supp. 697 (D. Alaska 1952) ........................................................................ 22


State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 4 of 61

           Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 4 of 61
United States v. Roberts,
      185 F.3d 1125 (10th Cir. 1999) .............................................................................. 16
United States v. Rogers,
      45 U.S. 567 (1846) ................................................................................................. 53
United States v. Stands,
      105 F.3d 1565 (8th Cir. 1997) ................................................................................ 16
United States Forest Service vs. Cowpasture River Preservation Ass’n,
      140 S. Ct. 1837 (2020) ........................................................................................... 41
Utility Air Regulatory Group v. EPA,
        573 U.S. 302 (2014) ............................................................................................... 40
Washington v. Confederated Bands and Tribes of the Yakima Indian Nation,
      439 U.S. 463 (1979) ............................................................................................... 10
W. Virginia v. EPA,
      142 S. Ct. 2587 (2022) .................................................................................... passim

Statutes
5 U.S.C. § 706(2) ............................................................................................................... 12
5 U.S.C. § 706(2)(A) ......................................................................................................... 37
18 U.S.C. § 1151 ......................................................................................................... 15, 31
25 U.S.C. § 2201(4)(i) ....................................................................................................... 15
25 U.S.C. § 5123(g) ........................................................................................................... 32
25 U.S.C. § 5129 ......................................................................................................... 50, 52
42 U.S.C. § 7411(d) ........................................................................................................... 40
43 U.S.C. § 732 ................................................................................................................. 14
43 U.S.C. § 1601(b) ..................................................................................................... 11, 28
43 U.S.C. § 1603 ......................................................................................................... 27, 43
43 U.S.C. § 1603(b) & (c) ........................................................................................... 27, 46
43 U.S.C. § 1605 ............................................................................................................... 27
43 U.S.C. § 1606 ............................................................................................................... 11
43 U.S.C. § 1607 ............................................................................................................... 11
43 U.S.C. § 1608 ............................................................................................................... 27
43 U.S.C. § 1610 ............................................................................................................... 27
43 U.S.C. § 1611 ............................................................................................................... 47

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 5 of 61

            Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 5 of 61
43 U.S.C. § 1613 ............................................................................................................... 11
43 U.S.C. § 1617 ................................................................................................... 27, 46, 47
43 U.S.C. § 1617(a) ........................................................................................................... 27
43 U.S.C. § 1618 ......................................................................................................... 11, 47
43 U.S.C. § 1618(a) ......................................................................................... 21, 43, 46, 47
43 U.S.C. § 1619 ......................................................................................................... 27, 46
43 U.S.C. § 1629e .............................................................................................................. 31

Legislation
Act of June 25, 1910, 36 Stat. 363 .................................................................................... 47
Alaska Native Claims Settlement Act, Pub. L. No. 92-203, 85 Stat. 688
      (codified at 43 U.S.C. §§ 1601 – 1629h) (December 18, 1971). ..................... 29, 47
Alaska Statehood Act, Pub. L. 85-508, 72 Stat. 339 § 4 (July 7, 1958)............................ 54
An Act authorizing the Secretary of the Interior to allot homesteads to the natives of
     Alaska, Pub. No. 171, 34 Stat. 197 (May 17, 1906). ................................. 47, 54, 55
An Act for the establishment of industrial schools for Alaska native children,
     Pub. No. 468, 43 Stat. 978 (February 23, 1925)..................................................... 18
An Act for the protection and regulation of the fisheries of Alaska,
     48 Stat. 594 (April 16, 1934) .................................................................................. 55
An Act making Appropriations for the current and contingent Expenses of the Indian
     Department, 16 Stat. 544, 566 (March 3, 1871) ..................................................... 17
An Act making further provision for a civil government for Alaska,
     31 Stat. 321 (June 6, 1900). .................................................................................... 14
An Act to amend the Alaska Native Claims Settlement Act,
     Pub. L. No. 100–241 § 17(a)(2), 101 Stat. 1788 (Feb. 3, 1988) ............................ 31
An Act to authorize the issuance of deeds to certain Indians or Eskimos for tracts set
     apart to them in surveys of town sites in Alaska (Alaska Native Townsite Act),
     44 Stat. 629 (May 25, 1926) ................................................................................... 55
An Act to authorize the President of the United States to make withdrawals of public
     lands in certain cases, 36 Stat. 847 (June 25, 1910). .............................................. 17
An Act to confer jurisdiction on the State of California, Minnesota, Nebraska, Oregon,
     and Wisconsin, with respect to criminal offenses and civil causes of action
     committed or arising on Indian reservations within such states,
     Pub. Law 83-280, 67 Stat. 588 (August 15, 1953) ................................................. 36



State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 6 of 61

            Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 6 of 61
An Act to conserve and develop Indian lands and resources (Indian Reorganization Act),
     Pub. L. No. 73-383, 48 Stat. 984 (June 18, 1934) .................................................. 18
An Act to establish an Alaska Game Commission, 52 Stat. 1169 (June 25, 1938) .......... 55
An Act to provide subsistence for Eskimos and other natives of Alaska
     (Reindeer Industry Act), 50 Stat. 900 (September 1, 1937) ................................... 55
An Act to make certain technical amendments, 108 Stat. 707, 709 (May 31, 1994) ........ 32
An Act making appropriations for the current and contingent expenses of the Bureau of
     Indian Affairs, for fulfilling treaty stipulations with various Indian tribes,
     41 Stat. 3, 34 (codified at 43 U.S.C. § 150) (June 30, 1919). ................................ 17
An Act to provide for the allotment of lands in severalty to Indians on the various
     reservations (Indian General Allotment Act), 24 Stat. 388 (February 8, 1887)..... 47
An Act to provide for the annual publication of a list of federally recognized
     Indian tribes, 108 Stat. 4791 (November 2, 1994) ................................................. 52
An Act to repeal timber-culture laws, 26 Stat. 1095 (March 3, 1891). ............................. 14
Higher Education Relief Opportunities for Students Act of 2003 (HEROS Act),
      Pub. L. 108-76, 117 Stat. 904 (2003) ..................................................................... 42
Organic Act, 23 Stat. 24 (May 17, 1884). ....................................................... 13, 27, 57, 60
Treaty of Cession, March 30, 1867, 15 Stat. 539 ........................................................ 13, 55

Regulations
25 C.F.R. § 151.11(a) ........................................................................................................ 35
25 C.F.R. § 151.11(b) & (d) .............................................................................................. 35
25 C.F.R. § 151.11(b) ........................................................................................................ 35
25 C.F.R. § 151.11(d) ........................................................................................................ 35
Final Rule, Land Acquisitions, 45 Fed. Reg. 62034 (Sept. 18, 1980)......................... 28, 48
Indian Entities Recognized and Eligible to Receive Services from the United States
       Bureau of Indian Affairs, 538 Fed. Reg. 54,364, 1993 WL 420646 (Oct. 21, 1993)
       ................................................................................................................................ 32
Indian Entities Recognized by and Eligible to Receive Services from the U.S. Bureau of
       Indian Affairs, 88 Fed. Reg. 2115 (January 12, 2023) ........................................... 45
Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888 (Dec. 23, 2014) ....... 16, 33

Other Authorities
78 Cong. Rec. 11732 (June 15, 1934) ............................................................................... 51


State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 7 of 61

            Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 7 of 61
78 Cong. Rec. 11830 (June 15, 1934) ......................................................................... 55, 56
Amendments to the Alaska Native Claims Settlement Act and the Alaska National
     Interest Lands Conservation Act and to Establish a Memorial in the District of
     Columbia: Hearings on S. 485, S. 1330, S. 2065, and S. 2370 Before the
     Subcomm. on Public Lands, Reserved Water and Resource Conservation of the
     Senate Comm. on Energy and Natural Resources, 99th Cong., 2d Sess. 165-66
     (1986) ..................................................................................................................... 30
Authorizing Indians to Form Business Councils, Corporations, and For other Purposes,
      S. Rep. 1080, 73d Cong., 2d Sess. (May 10, 1934) ............................................... 50
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     Alaska Native Claims Settlement Act,” 15 Am. Indian L. Rev. 391, 396 (1991) . 29
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      (3d ed. 2012) ............................................................................. 15, 17, 18, 20, 52, 56
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      Land (Washington, DC: Government Publishing Office, 1968) ............................ 24
Felix Cohen’s Handbook of Federal Indian Law (1942 ed.) ....................................... 53, 56
Hrg. Comm. on Interior and Insular Affairs, House of Representatives, 84th Cong.,
      H.R. 2535 and H.R. 2536,
      January – February 1955 (U.S. Gov. Printing Ofc. 1955) ..................................... 23
Hrg. Comm. on Interior and Insular Affairs, House of Representatives, 99th Cong., H.R.
      4162, April 17, 1986,
      Serial No. 99-76, p. 216 (U.S. Gov. Printing Ofc. 1987) ........................... 29, 30, 48
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      Session on H.R. 331 and S. 2036,
      April 24-29, 1950, p. 10 (U.S. Gov. Printing Ofc. 1950)................................. 20, 24
Hrg. Sen. Comm. on Interior and Insular Affairs on S. 1830,
      pt. 1, 91st Cong. 1st Sess. 115 (1969) .................................................................... 25
Hrg. Sen. Comm. on Interior and Insular Affairs on S. 2906,
      90th Cong. 2nd Sess., pp. 55-56 (Feb. 1968)...................................................... 25, 26
Hrg. Comm. on Interior and Insular Affairs on S. 2906,
      90th Cong. 2nd Sess., p. 576 (June 1968)................................................................. 26
Hrg. Subcomm. on Public Lands, National parks and Forests of the Comm. on Energy
      and Natural Resources United States Senate on S. 1145, H.R. 278, 100th Cong.,
      May 19, 1987 (U.S. Government Printing Ofc. 1987) ........................................... 30
Hrg. Subcomm. on Public Lands, Reserved Water and Resource Conservation of the
      Committee on Energy and Natural Resources United States Senate, Ninety-Ninth


State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 8 of 61

            Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 8 of 61
         Congress, S. 2065, May 24, 1986, May 27, 1986, and July 10, 1986 (U.S. Gov.
         Printing Ofc. 1987) ................................................................................................. 30
H. Explanatory Statement to P.L. 100-241,
      1987 U.S.C.C.A.N. 3299, 3307, 1987 WL 61520 (December 21, 1987) .............. 32
Petitioner State of Alaska’s Brief, State v. Native Village of Venetie Tribal Government,
       1997 WL 523883 .................................................................................................... 52
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Proceedings and Debates of the 103rd Congress, Second Session, House of
      Representatives, Making Certain Technical Corrections to Various Federal
      Statutes Affecting Native Americans, 140 Cong. Rec. H3802-01, H3803
      (May 23, 1994) ....................................................................................................... 32
S. Rpt. on Alaska Native Claims Settlement Act Amendments of 1987,
       Sen. Rpt. 100-201, 1987 U.S.C.C.A.N. 3269 (October 20, 1987) ......................... 31
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      38 Alaska L. Rev. 37 (2021) .................................................................................. 20
Sol. Op., The Meaning of “Under Federal Jurisdiction for Purposes of the Indian
      Reorganization Act,” M-37029 (March 12, 2014) ................................................. 51
Sol. Op., Withdrawal of Certain Solicitor M-Opinions,
      Reinstatement of Sol. O. M-37029, M-37070 (April 27, 2021)............................. 51
Sol. Op., Withdrawal of Solicitor’s Opinion M-37029, M-37055 (March 9, 2020) ......... 51
To Grant to Indians Living Under Federal Tutelage the Freedom to Organize for
      Purposes of Local Self-Government and Economic Enterprise: Hearings on
      S. 2755 and S. 3645 Before the S. Comm. On Indian Affairs (“Hearings on
      S. 2755 and S. 3645”), 73d Cong. at 265-66 (May 17, 1934) ................................ 50




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                        Page 9 of 61

           Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 9 of 61
                                      INTRODUCTION

       This case arises in the shadows of the Alaska Native Claims Settlement Act

(ANCSA). The big picture need for the Act is well known: the State of Alaska, via the

Alaska Statehood Act, and Alaska Natives, via aboriginal title, claimed large swaths of

the same land post statehood.1 Congress resolved the land dispute in 1971 when it passed

ANCSA. It did so by extinguishing all aboriginal title and any claims based on that title

in exchange for a $960 million settlement and the ability of eligible Alaska Native

corporations to select 40 million acres of federal land and hold that land in fee.2

       That last detail about corporations—rather than Alaska Natives themselves—

selecting the land is important because it reflects a shift in Congress’s usual way of

handling these issues. Coexisting with the land dispute was another long simmering

debate: should Alaska have “Indian country”? Indian country is the touchstone for

delineating federal, state, and tribal jurisdiction over Indian-occupied lands.3 Within

Indian country, Indian tribes have broad authority not only over their own members but

over the land and non-members. States, on the other hand, are generally precluded from

exercising fundamental attributes of their sovereignty within Indian country.4




1
       See Sturgeon vs. Frost (Sturgeon I), 577 U.S. 424, 429 (2016); Sturgeon vs. Frost,
139 S. Ct. 1066, 1074 (2019).
2
       Sturgeon I, 577 U.S. at 429.
3
      See Washington v. Confederated Bands and Tribes of the Yakima Indian Nation,
439 U.S. 463, 470-71 (1979).
4
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 10 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 10 of 61
       Unlike the Lower 48, Indian country is almost nonexistent in Alaska.5 Indeed,

“Alaskans, both Native and non-Native, opposed creation of reservations on the grounds

that reservations were socially divisive and tended to perpetuate a wardship rather than

equality for the Natives.”6 Through ANCSA, Congress responded to these concerns too.

It sought to “maximize participation by Natives in decisions affecting their rights and

property . . . without creating a reservation system or lengthy wardship or trusteeship.”7

Thus, it expressly revoked the few reservations that had been created in Alaska (but one)8

and provided for the creation of more than 200 state-charted village and regional

corporations owned and operated by Natives as for-profit businesses subject to state law.9

It was the corporations, not the Alaska tribes that would receive the land in fee.10 The

land would not be held in trust by the federal government.11 In short, as it often does,

Congress set up a system in Alaska that differed from that found in the rest of the

country.12




5
      Metlakatla Indian Community, Annette Islands Reserve v. Egan, 369 U.S. 45, 51
(1962).
6
        United States v. Atlantic Richfield Co., 435 F. Supp. 1009, 1015 (D. Alaska 1977),
aff’d, 612 F.2d 1132 (9th Cir. 1980), cert. denied, 449 U.S. 888 (1980).
7
       43 U.S.C. § 1601(b).
8
       Id. § 1618(a).
9
       Id. §§ 1606, 1607.
10
       Id. at § 1613.
11
       Id.
12
       Sturgeon I, 577 U.S. at 440 (“Alaska is often the exception, not the rule.”).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 11 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 11 of 61
       For 46 years, the Department of the Interior (Interior) respected Congress’s

directive and declined to create additional Indian country in Alaska. That changed in

2017, when Interior, for the first time since statehood, accepted lands into trust in Alaska.

Having second thoughts, the agency reversed course and returned to its original view on

the scope (or lack thereof) of its authority in 2021, only to change course again soon

thereafter. The most recent about-face occurred in 2022, leading to Assistant Secretary

Newland granting the Central Council of the Tlingit & Haida Indian Tribe of Alaska’s

(“Central Council’s” or “Tribe’s”) application to create Indian country in downtown

Juneau. [AR 1-17]

       Since ANCSA, Alaska has been governed on the basic jurisdictional premise—

reflecting the unique history of Alaska and its Natives—that no new Indian country will

be created. Given the economic and political significance of any change to that

understanding, the Assistant Secretary must point to “clear congressional authorization”

for the power he now claims.13 Because the Assistant Secretary cannot do so, he acted

outside the scope of his authority and abused his discretion.14




13
       W. Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022).
14
       See 5 U.S.C. § 706(2).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 12 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 12 of 61
                                STATEMENT OF THE CASE

I.     Historical and Statutory Background.

       A.       The purchase of Alaska and the Organic Act.

       The United States purchased Alaska from Russia in 1867.15 The treaty transferring

ownership did not address property rights of the Native inhabitants.16 Rather, “[i]t

provided that the Natives would be subject to such laws as the United States might adopt

with respect to aboriginal tribes.”17

       In 1884, Congress passed the Organic Act, which provided the Territory with a

civil government and for the first time addressed the rights of Alaska Natives.18

Specifically, the Act designated Alaska as a “land district” and extended “the laws of the

United States relating to mining claims, and the rights incident thereto” to the district.19

Regarding Alaska Natives, the law stated:

             That the Indians or other persons in said district shall not be disturbed in
             the possession of any lands actually in their use or occupation or now
             claimed by them but the terms under which such persons may acquire
             title to such lands is reserved for future legislation by Congress.20




15
       Sturgeon I, 136 S. Ct. at 1064.
16
      See Atlantic Richfield Co., 435 F. Supp. at 1014 (discussing Treaty of Cession,
March 30, 1867, 15 Stat. 539).
17
       Id.
18
       Organic Act, 23 Stat. 24 (May 17, 1884).
19
       Id. § 2.
20
       Id. § 8.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 13 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 13 of 61
       Throughout the late nineteenth century, Congress continued to open Alaska to

settlement.21 In 1891, Congress enacted a law that “permitted Alaskan lands to be entered

for townsite and industrial site purposes,” exempting from the law only “Indian lands to

which the Indians had prior rights by virtue of ‘actual occupation.’”22 In 1898, Congress

opened Alaska to homestead claims, allowing homesteaders to stake tracts up to

80 acres.23 Then, in 1900, Congress further extended the laws relating to mining claims

and mineral locations to Alaska.24

       Although the 1900 law again contained language to protect Alaska Natives in the

lands “actually in their use or occupation,”25 by this time it had become clear that

Congress did not intend to protect all lands Alaska Natives used or occupied. Rather, the

general land laws were being administered in Alaska to protect only “village and home

sites [with] intensive daily use;” they did not prevent entry on the “hunting, fishing and

gathering areas” of Alaska Natives.26




21
       Atlantic Richfield Co., 435 F. Supp. at 1015.
22
       Tlingit and Haida Indians of Alaska v. United States, 177 F. Supp. 452, 466
(Ct. Cl. 1959) (discussing Act of March 3, 1891, Ch. 561, 26 Stat. 1095, codified at
43 U.S.C. § 732); see also Atlantic Richfield Co., 435 F. Supp. at 1014 (discussing same).
23
       Tlingit and Haida Indians of Alaska, 177 F. Supp. at 466.
24
       Id. (discussing Act of June 6, 1900, 31 Stat. 321).
25
       Id.
26
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 14 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 14 of 61
      B.      Trust land is Indian country.

       To make sense of reservation policy in Alaska, a general understanding of some

basic terms is helpful. The terms “reservation” and “reserves” are often used

interchangeably.27 The legal implications of a reservation or reserve depend on how it

was created. Congress could grant a tribe—through a reserve or reservation—

“recognized title,” meaning the tribe had a right to hold the lands permanently and any

subsequent taking required compensation.28 The other option is a “reservation at will.”

These were typically created through executive orders and “convey[ed] no right of use or

occupancy to the beneficiaries beyond the pleasure of Congress or the President.”29

Unlike a reservation that conveyed “recognized title,” a reservation at will could be

“terminated by unilateral action of the United States without legal liability for

compensation.”30

       Two other categories of lands are relevant to this litigation: “trust lands” and

“Indian country.” Trust lands are lands that are “held in trust by the United States for an

Indian tribe or individual.”31 “Indian country” is expressly defined by statute.32 Today, it



27
       See generally David Case and David Voluck (Case and Voluck), Alaska Natives
and American Laws, at 83 n.15 (3d ed. 2012). (“There is no legal distinction between the
use of the terms “reserve” and “reservation.”).
28
       Tee-Hit-Ton Indians v. United States, 348 U.S. 272, 2798 (1955).
29
       See Hynes v. Grimes Packing Co., 337 U.S. 86, 103 (1949).
30
       Id.
31
       25 U.S.C. § 2201(4)(i).
32
       See 18 U.S.C. § 1151.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 15 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 15 of 61
includes Indian reservations under the jurisdiction of the United States, dependent Indian

communities, and all Indian allotments.33 The early reserves and reservations that were

created in Alaska were not “Indian country” because they did not create tribal

jurisdiction.34 The significance of this designation is its jurisdictional impact. “Generally

speaking, primary jurisdiction over land that is Indian country rests with the Federal

Government and the Indian tribe inhabiting it, and not with the States.”35

       Here, the Assistant Secretary created additional “trust lands” in Alaska by granting

the Central Council’s application, but did he also create Indian country? Most likely yes.

Interior contends trust land held by a tribe constitutes Indian country.36 This policy aligns

with a Tenth Circuit decision concluding that “official ‘reservation’ status is not

dispositive and lands owned by the federal government in trust for Indian tribes are

Indian country.”37




33
       Id.
34
        See Egan, 369 U.S. at 51-52 (stating that the only statutory reservation in Alaska
at that time did not qualify as Indian country).
35
       Alaska v. Native Village of Venetie Tribal Gov’t, 522 U.S. 520, 527 n.1 (1998).
36
       See Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888, 76,893
(Dec. 23, 2014).
37
       United States v. Roberts, 185 F.3d 1125, 1131 (10th Cir. 1999); see also Langley
v. Ryder, 778 F.2d 1092, 1095 (5th Cir. 1985) (same). But see United States v. Stands,
105 F.3d 1565, 1572 (8th Cir. 1997) (“For jurisdictional purposes, tribal trust land
beyond the boundaries of a reservation is ordinarily not Indian country.”). The Ninth
Circuit has not yet addressed this issue.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 16 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 16 of 61
       C.     Reservation policy in Alaska.

       Prior to ANCSA, there were five ways to create reserves/reservations in Alaska.38

First, Congress could create a reservation by entering a treaty with a tribe. Congress

extinguished that authority in 1871 without having used it in Alaska.39 Second, Congress

could create a reservation by statute. There were two such reservations in Alaska: the

Annette Islands Reserve, created in 1891, and Klukwan, confirmed by Congress in 1957.

[AR 2283] Third, a reservation (or “reservation at will”) could be created by executive

order. At least fourteen executive order reserves were created between 1905 and 1919.

[AR 2285-86] In 1919, however, Congress prohibited the creation of reservations by

executive order without specific congressional authorization.40

       Between 1920 and 1933, the executive branch deployed the fourth method for

creating reservations in Alaska: the public purpose reserve.41 Unlike the first set of

executive orders, which set aside public land to create an Indian reservation, these orders

withdrew land for the public purpose of assisting Alaska Natives.42 During this period,

and primarily relying on a 1925 law that allowed the Secretary to “establish a system of




38
       See generally Case & Voluck, at 84.
39
      See Organized Vill. of Kake v. Egan, 369 U.S. 60, 72 (1962) (citing 16 Stat. 544,
566 (1871)).
40
       Act of June 30, 1919, 41 Stat. 34 (codified at 43 U.S.C. § 150).
41
       See generally Case & Voluck, at 85.
42
       Id. The president’s authority for this came from the Act of June 25, 1910, 36 Stat.
847.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 17 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 17 of 61
vocational training for the aboriginal native people of the Territory of Alaska,”43 the

executive created five public purpose reserves. [AR 2285-86] Because of the 1919 law

prohibiting the creation of Indian reservations without express congressional

authorization, these were not “Indian reservations” and were not being held in trust for

Alaska Natives.44

       Congress enacted the fifth and final method for creating reserve/reservations in

Alaska in 1936—that is, the Alaska Indian Reorganization Act (Alaska IRA). [See AR

3306-07] This is also where the Assistant Secretary purported to find his authority to take

the Central Council’s fee land into trust. Congress enacted the Alaska IRA to correct how

the Indian Reorganization Act (IRA) of 1934 applied to the Territory. [See AR 3321-25]

       The IRA, also known as the Wheeler-Howard Act, “was a comprehensive reform

statute, providing, among other things, for tribal self-government, restoration of lands to

tribal ownership, economic development, and vocational training.”45 Not all provisions of

the Act applied to the Territory of Alaska.46 Of the provisions that did apply, none of

them related to land.47




43
       Act of February 23, 1925, Pub. No. 468, 68th Cong.
44
       See generally Case and Voluck, at 95-96.
45
       E.E.O.C. v. Peabody Western Coal Co., 773 F.3d 977, 983 (9th Cir. 2014) (citing
48 Stat. Pub. L. No. 73-383 (1934) [found at AR 3321-25]).
46
       See AR 3323 (“The provisions of this Act shall not apply to any of the Territories,
colonies, or insular possessions of the United States, except that sections 9, 10, 11, 12,
and 16, shall apply to the Territory of Alaska . . . .”).
47
       See AR 3323-24 (IRA, §§ 9-12, 16).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 18 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 18 of 61
       Immediately after passage of the IRA, problems arose in trying to apply the Act to

the Territory. Because Congress had not included section 17 in the list of provisions

applicable to Alaska, [see AR 3325] the Secretary had no authority to issue an organized

Alaska tribe a charter and therefore had no authority to issue the same tribe a loan under

section 10. [AR 3325; see also AR 3309]

       To correct this problem, Congress passed the Alaska IRA. [AR 3306] The first

part of section 1 of that Act applied additional IRA provisions to “Indians” and “tribes”

as defined by section 19 of the IRA. [Id.] One of those provisions is section 5, which

allows the Secretary to take lands into trust “for the Indian tribe or individual Indian for

which the land is acquired.” [Id.] The second part of section 1 authorized groups not yet

recognized as tribes to organize, incorporate, and get federal loans. [Id.] Section 2

provided the Secretary the authority to designate certain public lands withdrawn for

Alaska Native use and occupancy as Indian reservations. [AR 3306-07]

       From 1936 to ANCSA’s passage in 1971, sixty-nine Alaska Native villages and

regional groups adopted constitutions and organized under the IRA, but only six of those

villages obtained reservations under section 2 of the Alaska IRA. [AR 927, 959] During

that same period, the Secretary granted applications to take three parcels of land into trust

under section 5 of the IRA: 10.24 acres for the Angoon Tribe in 1948; 15.9 acres for the




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 19 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 19 of 61
benefit of the Kake Tribe in 1950; and, also in 1950, 0.92 acres for the benefit of the

Alaska Natives at Klawock.48

       The limited impact of the IRA and the Alaska IRA prior to ANCSA was due in large

part to public opposition to reservations—or the general concept of Indian country—in

Alaska.49 [AR 1038 n.112]

       D.     The limited impact of the IRA land provisions prior to ANCSA and the
              public sentiment regarding reservations in Alaska.

       Even after the Alaska IRA’s enactment, application of section 2’s reservation

authority to the Territory was inconsistent, eventually resulting in litigation. Initially,

Interior took a conservative approach by limiting its authority to existing Native villages

and townsites or requiring strict proof of actual use and occupancy.50 [AR 3289, 3293] Its

approach shifted, however, in 1942 with the issuance of a new opinion by then-Solicitor,

Nathan R. Margold, that advanced for broader authority to create larger Indian

reservations.51



48
      See Scherer, K., Alaska’s Tribal Trust Lands: A Forgotten History, 38 Alaska L.
Rev. 37, 27 (2021).
49
       Hearings Before the Committee on Interior and Insular Affairs, United States
Senate, Eighty-First Congress, Second Session on H.R. 331 and S. 2036, April 24-29,
1950, p. 10 (U.S. Gov. Printing Ofc. 1950) (“The reservation program being followed
pursuant to the authority of the 1936 act has met with considerable opposition from
persons who feel that the setting aside of vast areas is detrimental to the development of
Alaska.”); Robert E. Price, The Great Father in Alaska, p. 103 – 137 (First Street Press,
1990) (An extensive chapter detailing Interior’s problems with creating reservations in
Alaska under the IRA).
50
       See also Case & Voluck, at 99.
51
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 20 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 20 of 61
       Margold concluded that section 2 of the Alaska IRA gave the Secretary authority

to create Indian reservations based on the aboriginal use and occupancy of Alaska

Natives.52 Following this interpretation, in 1943, Interior withdrew 1,408,000 acres for

the Venetie Reserve and another 35,200 acres for the Karluk Reserve. [AR 2284] Over

the next four years, the agency created another four reservations, bringing the total acres

reserved under the Alaska IRA to 1,540,270 acres. [Id.] During this same period, Alaska

Natives voted against the reserves Interior proposed at Shungak, Barrow, White

Mountain and Shishmaref.53 [AR 2281]

       The public immediately responded with outrage to Interior’s creation of such large

reserves. Ernest Gruening, then-governor of the Territory, argued that Interior’s new

policy of creating large reservations in Alaska was not “the one which Congress believed

it was approving when it passed the necessary legislation in 1936.” [AR 3144]

       All told, Interior’s application of its section 2 authority resulted in litigation that

effectively ended its efforts. In Hynes v. Grimes Packing Co, the Supreme Court affirmed

the Secretary’s authority to create large reservations that encompassed surrounding

waters but rejected the argument that the Secretary finally disposed of the land such that a

tribe received “recognized title.”54 What Alaska Natives instead received was a




52
       Id. at 100.
53
       The Alaska IRA required approval of at least 30 percent of members entitled to
vote in each reserve. [AR 3307]
54
       337 U.S. 86, 110-11 (1949).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 21 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 21 of 61
“reservation at will,” and the Secretary had no authority to grant the Alaska Natives

living on the reservation exclusive commercial fishing rights.55

       In United States v. Libby, the district court reached a number of conclusions

pertaining to the purported Hydaburg Reserve that further winnowed the Secretary’s

section 2 authority.56 It held not only that the Secretary’s authority was limited to land

actually used or occupied by Alaska Natives since passage of the Organic Act of 1884,

the court also held that the Secretary was required to comply with the Administrative

Procedures Act, which he had failed to do.57 In explaining its holdings, the district court

noted that “it is no exaggeration to say that nothing since the purchase of Alaska has

engendered so much ill-feeling and resentment as [Interior’s] reservation policy.”58

       After Libby, Interior never again invoked its section 2 authority, nor did it apply its

lands-into-trust and reservation authority under sections 5 and 7 of the IRA. No more

reservations were created in Alaska and Congress repealed section 2 of the Alaska IRA in

1976 when it passed the Federal Land Policy and Management Act (FLPMA). [AR 1540]




55
       Id. at 110, 122.
56
       107 F. Supp. 697 (D. Alaska 1952).
57
       Id. at 700, 703.
58
       Id. at 699.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 22 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 22 of 61
       E.     The reservation issue persists during statehood discussions.

       Alaska became a State in 1959.59 Although Congress granted Alaska the ability to

select 103 million acres of “vacant, unappropriated, and unreserved” federal land,

Congress did not resolve Alaska Natives’ aboriginal claims to that same land.60

       While the Statehood Act left aboriginal claims unanswered, the legislative history

leading to the Act is still instructive as it sets the stage for what Congress would

ultimately face when it considered ANCSA. For example, in a 1950 hearing, a delegate

from Alaska explained to the Committee on Interior and Insular Affairs, that there were

“no land held in trust in Alaska by the Federal Government for the benefit of the

Indians.”61 He further explained:

       [In addition to Metlakatla,] [t]here are other parcels of land which were
       created under the reservation as a consequence of the act of May 1, 1936,
       which extended the Wheeler-Howard Act to Alaska but the holding of land
       in trust in the sense that phrase is used in the State does not apply in
       Alaska.62

In a separate hearing held later that same year, it was noted that “[t]he reservation

program being followed pursuant to the authority of the 1936 Act has met with




59
       Sturgeon I, 577 U.S. at 429.
60
       Id.
61
      Hearings Before the Committee on Interior and Insular Affairs, House of
Representatives, Eighty-Fourth Congress, H.R. 2535 and H.R. 2536, January – February
1955 (U.S. Gov. Printing Ofc. 1955).
62
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 23 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 23 of 61
considerable opposition from persons who feel that the setting aside of vast areas is

detrimental to the development of Alaska.”63

       F.     Congress rejects the reservation model and Indian country.

       Discussions about adopting a reservation system in Alaska continued in the

hearings leading to ANCSA’s enactment. One of the reports considered by Congress was

the Field Commission Report prepared by the Federal Field Committee for Development

Planning in Alaska.64 [AR 2032-3082] This report documented much of the information

already discussed, including the general disfavor within Alaska of reservations. On this

topic, the report explained:

       Reservations have never been looked upon with favor in Alaska; and except
       for the Metlakatla Reserve on Annette Island and the Klukwan Reserve,
       which were both created by Act of Congress, there are no reservations in
       Alaska. Those Alaska Natives who do live on lands reserved for their use
       do not do so under tribal governments or legal systems familiar in other
       parts of the United States.

       [AR 780]

       The idea that Alaska would emerge from this process with a reservation system

like the Lower 48 was disliked by all involved—including Alaska Natives. Multiple

representatives from the Alaska Federation of Natives (AFN) testified in opposition to



63
       Hearings Before the Committee on Interior and Insular Affairs, United States
Senate, Eighty-First Congress, Second Session on H.R. 331 and S. 2036, April 24-29,
1950, p. 10 (U.S. Gov. Printing Ofc. 1950).
64
       Federal Field Committee for Development Planning in Alaska, Alaska Natives and
the Land (Washington, DC: Government Publishing Office, 1968). This report was
expressly made part of ANSCA’s legislative history. S. Rpt. 92-405, at 74 (Oct. 21,
1971).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 24 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 24 of 61
any system that resembled the Lower 48 reservation system or treated the Alaska Natives

like “wards” of the federal government. Byron I. Mallot, then second vice-president of

AFN, confirmed that Native leaders opposed the idea of Indian country:

       Freed of their own volition and by their accomplishments, from
       dependency upon the Government, the native of Alaska will be able to take
       his rightful place in this Nation and the Government will be freed from this
       haunting responsibility in a nation of plenty.65

Similarly, AFN President Emil Notti testified that Alaska Natives opposed the wardship

status of Indians in the Lower 48:

       We have been treated as “wards” for many years. We have not profited by
       the “wardship”; we are humiliated by the very concept which assumes that
       we are something less than other citizens—and I assure you that we are
       not.66

Contrasting their goals with the Indian country status of Pueblo lands in New Mexico,

Barry Jackson, an attorney representing AFN, confirmed that Alaska Natives did not

want their land to be “Indian country”:

       [T]he natives in Alaska are very vehemently anti reservation and they have
       never been in favor of reservations and are not today . . . .

       Now, we are also trying to get away from the BIA, frankly, and from the
       Secretary of the Interior . . . We are trying to build in provisions which will
       prevent us from having, if you will pardon the expression, our villages
       frozen in history. It is my personal feeling that the Pueblos of New Mexico




65
     Hearings on S.2906 before Sen. Comm. on Interior and Insular Affairs, 90th Cong.
 nd
2 Sess., 55-56 (Feb. 1968).
66
      Hearings on S.1830 before Sen. Comm. on Interior and Insular Affairs, pt. 1, 91st
Cong. 1st Sess. 115 (1969).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 25 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 25 of 61
          are frozen in history because of their rules that they have, and this is
          something that we want to avoid.67

          Unlike a forced wardship, an optional trusteeship had some support during the

legislative process.68 Barry Jackson explained AFN’s view on one such proposal:

“Generally speaking, we are opposed to trusts being established, but it may be some

groups will desire to have the lands held in trust.”69 This was not, however, the path

Congress chose to follow.

          When Congress passed ANCSA in 1971, the Act embodied a permanent,

comprehensive lands claims settlement that did not envision creation of any new trust

land or other special status land in the state. It “was intended to be and was something

very different” than a “mere continuation of prior Indian policy.”70 “It attempted to

preserve Indian tribes, but simultaneously attempted to sever them from the land; it

attempted to leave them as sovereign entities for some purpose, but as sovereigns without

territorial reach.”71




67
      Hearings on S.2906 before Sen. Comm. on Interior and Insular Affairs, 90th Cong.
 nd
2 Sess., 89-90 (Feb. 1968). The trust status of the Publo land is like what Central
Council will have here. See Venetie, 522 U.S. at 528.
68
     Hearings on S. 2906 before the Committee on Interior and Insular Affairs,
90 Cong. 2nd Sess., 576, 579 (June 1968).
     th

69
          Id. at 579.
70
       State of Alaska ex rel. Yukon Flats School Dist. v. Native Village of Venetie Tribal
Gov’t, 101 F.3d 1286, 1303 (9th Cir. 1996) (Fernandez, J., concurring).
71
          Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 26 of 61

          Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 26 of 61
       Through ANCSA, Congress took several actions to implement its objective of

separating the land from the tribes themselves. It revoked all reservations in Alaska

except the Annette Islands Reserve and repealed the Native Allotment Act.72 It

extinguished all aboriginal titles that may have existed and all future claims based on

aboriginal right, title, use or occupancy.73 And it extinguished all land claims based on

any statute relating to Native use and occupancy.74 In return, Congress conveyed

44 million acres of land to Native corporations formed under state law (in addition to

providing nearly 1 billion dollars).75 These Native corporations received the title in fee

simple, with no federal restrictions.76

       And it was not just the federal government or the Alaska Natives that gave up

something to reach this compromise, the State was a party too. In exchange for the

Alaska Natives’ release of any future land claims, the State relinquished its land selection

priorities under the Alaska Statehood Act and provided one-half of the monetary

settlement ($500 million).77

       It took Congress nearly 90 years to resolve the land claims left unresolved by the

Organic Act of 1884. But when it did, Congress acted comprehensively and with clarity



72
       43 U.S.C. §§ 1617(a); 1618.
73
       43 U.S.C. § 1603.
74
       43 U.S.C. §§ 1603(b) & (c), 1617, 1618(a), and 1619.
75
       Venetie, 522 U.S. at 524.
76
       Id.
77
       43 U.S.C. §§ 1605, 1608, 1610.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 27 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 27 of 61
and purpose. It wanted Alaska Natives to enjoy “maximum participation” in “decisions

affecting their rights and property” and it wanted to do so “without establishing any

permanent racially defined institutions, rights, privileges, or obligations, [and] without

creating a reservation system or lengthy wardship or trusteeship.”78

       G.     The Secretary’s authority—or lack thereof—following ANCSA.

       For 46 years following the passage of ANCSA, under the guidance of multiple

Secretaries of the Interior, the Department declined to take lands into trust on behalf of

Alaska Natives. In 1978, seven years after ANCSA’s passage, Thomas W. Fredericks,

Associate Solicitor for Indian Affairs, rejected the Arctic Village and the Native Village

of Venetie’s petition to take their former reservation into trust. [AR 1534-1536] He

concluded that, following Congress’s directive in ANCSA, it would be an abuse of the

Secretary’s discretion to accept in trust the village communities’ former reservation

lands. [Id.] And in 1980, Interior promulgated land-into-trust regulations that prohibited

consideration of any trust acquisitions in Alaska, “except acquisitions for the Metlakatla

Indian Community of the Annette Island Reserve or its Members” (“Alaska

Exception”).79

       During the 1980s—only a short decade after ANCSA’s passage—Congress

reaffirmed the lack of Indian country in Alaska when it considered several amendments




78
       Venetie, 522 U.S. at 524 (quoting 43 U.S.C. § 1601(b) (emphasis and alternation
in original)).
79
       Final Rule, Land Acquisitions, 45 Fed. Reg. 62034 (Sept. 18, 1980).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 28 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 28 of 61
to ANCSA. As originally passed, several of the Act’s provisions concerning stock and

shareholder eligibility expired statutorily in 1991.80 This, and concerns over the economic

health of the Native corporations, led some within the Native community to reconsider

the lands-into-trust issue and the reservation model.81

       As Congress considered whether to extend the statutory eligibility requirements,

AFN started lobbying to authorize the Secretary to place lands into trust. In 1985, AFN

passed a special resolution that proposed seeking legislative amendments to the IRA to

allow Alaska tribes “to be afforded the same rights and privileges as Indian Tribes

elsewhere in the United States.”82 Specifically, AFN wanted the Secretary to take lands

into trust on behalf of Alaska Natives and to create reservations. The resolution asserted:

       No provision of ANCSA or any law shall be construed as in any way
       impairing the authority of the Secretary of the Interior at the request of a
       Native Tribe, community or individual, pursuant to Section 5 of the Indian
       Reorganization Act of 1934, 25 U.S.C. 465 [(now codified at 25 U.S.C. §
       5105)] as amended, to acquire any interest in lands in Alaska in the name of
       the United States in trust for the benefit of the Native Tribe, community or
       individual for which the land is acquired.83



80
       Section 7(h)(1) of “An Act to provide for the settlement of certain land claims of
Alaska Natives, and for other purposes,” Pub. Law 92-203, 85 Stat. 688. (December 18,
1971).
81
       See Julia A. Bowen, The Option of Preserving a Heritage: The 1987 Amendments
to the Alaska Native Claims Settlement Act,” 15 Am. Indian L. Rev. 391, 396 (1991).
82
       Hearing before Committee on Interior and Insular Affairs, House of
Representatives, Ninety-Ninth Congress, H.R. 4162, April 17, 1986, Serial No. 99-76,
p. 216 (U.S. Gov. Printing Ofc. 1987).
83
       Hearing before Committee on Interior and Insular Affairs, House of
Representatives, Ninety-Ninth Congress, H.R. 4162, April 17, 1986, Serial No. 99-76,
p. 216 (U.S. Gov. Printing Ofc. 1987).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 29 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 29 of 61
       To accomplish its shifting goal, AFN proposed two amendments to the IRA. First,

it sought to amend section 5 of the IRA to allow the Secretary to take “any lands within

any state” into trust.84 Second, AFN sought to amend section 7 of the IRA to include the

following: “The provisions of this paragraph shall be fully applicable within any state

notwithstanding the repeal of Section 2 of the Act of May 1, 1936 (49 Stat. 1250)” via

FLPMA. AFN believed this sentence was needed because Congress had, through

FLPMA, expressly repealed section 2 of the Alaska IRA—the provision that granted the

Secretary the authority to designate public land in Alaska an Indian reservation.

[AR 1540]

       In 1986 and 1987, Congress considered three separate bills to amend ANCSA.

None of them included AFN’s proposed amendments to the IRA.85 Instead, all three bills

included what became known as the “qualified transferee entity (QTE) option.”86 The


84
      Hearing before Committee on Interior and Insular Affairs, House of
Representatives, Ninety-Ninth Congress, H.R. 4162, April 17, 1986, at p. 217.
85
       See Hearings before Committee on Interior and Insular Affairs House of
Representatives, Ninety-Ninth Congress Second Session on H.R. 4162, April 17, 1986,
Serial No. 99-76 (U.S. Gov. Printing Off. 1987); Hearings before the Subcommittee on
Public Lands, Reserved Water and Resource Conservation of the Committee on Energy
and Natural Resources United States Senate, Ninety-Ninth Congress, S. 2065, May 24,
1986, May 27, 1986, and July 10, 1986 U.S. Gov. Printing Ofc. 1987); and Hearing
before the Subcommittee on Public Lands, National parks and Forests of the Committee
on Energy and Natural Resources United States Senate, 100th Congress, S. 1145,
H.R. 278, May 19, 1987 (U.S. Government Printing Ofc. 1987).
86
       Amendments to the Alaska Native Claims Settlement Act and the Alaska National
Interest Lands Conservation Act and to Establish a Memorial in the District of Columbia:
Hearings on S. 485, S. 1330, S. 2065, and S. 2370 Before the Subcomm. on Public
Lands, Reserved Water and Resource Conservation of the Senate Comm. on Energy and
Natural Resources, 99th Cong., 2d Sess. 165-66 (1986).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 30 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 30 of 61
QTE Amendment would have allowed ANCSA corporations to transfer land or assets to

traditional councils or IRA tribal councils to be held in trust by the federal government.87

The State opposed the amendment, arguing that such transfers would “strengthen the

claim that there was Indian country in Alaska” and would contravene ANCSA’s

declaration of accomplishing a settlement “without creating a reservation system or

lengthy wardship or trusteeship.”88

       Congress agreed with the State and rejected the QTE amendment, instead opting

to avoid any change to Indian country status in Alaska. As an alternative to the QTE

option, Congress chose the settlement trust option, which allowed Native corporations to

place land into trust under state law.89 Regarding the territorial jurisdiction issues, the bill

included a disclaimer that nothing within the Act was to validate or invalidate “[a]ny

assertion that Indian country (as defined by 18 U.S.C. § 1151 or any other authority)

exists or does not exist within the boundaries of the State of Alaska.”90

       In the 1990s, Indian law continued to evolve. In 1993, the Secretary published a

list that officially listed Alaska Native groups as federally recognized tribes deemed




87
       Id.
88
       Id.
89
      43 U.S.C. § 1629e; House Explanatory Statement to P.L. 100-241, 1987
U.S.C.C.A.N. 3299, 3307, 1987 WL 61520 (December 21, 1987).
90
      Pub. L. No. 100–241 § 17(a)(2), 101 Stat. 1788, 1814 (Feb. 3, 1988); see also
Alaska Native Claims Settlement Act Amendments of 1987, Sen. Rpt. 100-201, 1987
U.S.C.C.A.N. 3269, 3291 (October 20, 1987).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 31 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 31 of 61
“eligible to receive services from the United States Bureau of Indian Affairs.”91 In 1994,

Congress amended section 16 of the IRA to clarify that a regulation that diminished the

privileges and immunities of a federally recognized tribe relative to another federally

recognized tribe had “no force or effect.”92 This amendment was adopted to clarify that

Congress, not Interior, was the sole authority responsible for “the formulation of Indian

policy.”93

       In 1993, Interior Solicitor Thomas Sansonetti issued an extensive opinion on the

governmental jurisdiction of Alaska Native villages over land and nonmembers.

[AR 927-1062] Sansonetti called the opinion “one of the most difficult to prepare” during

his tenure with Interior. [AR 1057] He concluded that, “even if certain Native villages

qualify as tribes for purposes of federal law, Congress clearly limited Native village

exercise of sovereign jurisdiction over lands and nonmembers in a decisive fashion.” [Id.]

“ANCSA largely controls the determination whether any territory exists over which

Alaska Native villages might exercise governmental powers.” [AR 1058] “Congress has



91
       Indian Entities Recognized and Eligible to Receive Services from the United
States Bureau of Indian Affairs, 58 Fed. Reg. 54,364, 1993 WL 420646 (Oct. 21, 1993).
Congress passed legislation in 1994 for Central Council to be included on Interior’s list.
[AR 922]
92
        An Act to make certain technical corrections, 108 Stat. 707, 709 (May 31, 1994);
see 25 U.S.C. § 5123(g) (“Any regulation . . . in effect on the date of enactment of this
Act . . . that classifies, enhances, or diminishes the privileges and immunities available to
a federally recognized tribe relative to the privileges and immunities available to other
federal recognized tribes by virtue of their status as Indian tribes shall have no force or
effect.”).
93
       140 Cong. Rec. H3802-01, H3803 (May 23, 1994).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 32 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 32 of 61
left virtually no room under ANCSA for Native villages in Alaska to exercise

governmental power over lands and nonmembers.” [Id.]

         Alaska Natives then began the long process of convincing federal officials within

Interior to shift course and take an expansive view of the agency’s fee-to-trust authority.

This started in 1995 when Alaska Native groups petitioned Interior to remove the Alaska

Exception from the lands-into-trust regulations. [AR 920] Four years later, near the end

of the Clinton Administration, Interior concluded that a “credible legal argument” existed

that the Secretary’s authority to accept lands into trust in Alaska survived ANCSA.

[AR 909] And then in 2001, with four days remaining in the Clinton Administration,

Interior rescinded the Fredericks Opinion based on “substantial doubt” regarding its

conclusions. [AR 889-904]

         Despite these “substantial doubts,” Interior did not act to remove the Alaska

Exception from its regulations until 2014.94 This followed a ruling from the United States

District Court for the District of Columbia finding the regulatory exception unlawful.95

The D.C. Circuit Court later vacated the district court’s ruling after Interior’s new rule

mooted the State’s appeal.96




94
       Final Rule, Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888
(Dec. 23, 2014).
95
         Akiachak Native Community v. Salazar, 935 F.Supp.2d 195, 211 (D.C. Ct. 2013).
96
         Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100, 102 (D.C. Cir.
2016).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 33 of 61

         Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 33 of 61
         A “credible legal argument” does not amount to clear congressional direction, as

evidenced by the roller coaster ride that began in 2017. Then, for the first time post-

ANCSA, Interior granted a petition by an Alaska tribe to take lands into trust. [AR 421-

33] This petition was granted in conjunction with the issuance of the first of a new round

of Solicitor Opinions. That same year then-Solicitor Tompkins opined that the

Secretary’s fee-to-trust authority survived ANCSA. [AR 399-420] Just over a year later a

new Solicitor, Daniel Jorjani, withdrew that opinion; in 2021 he issued a new opinion that

concluded “uncertainty . . . caution[ed] against the Secretary implementing IRA section 5

in Alaska.” [AR 219] Four short months later, a different Solicitor withdrew that opinion;

and in November 2022, [AR 182-83] the parties learned that the agency, once again,

believed that the Secretary held the broad discretion to create Indian country in Alaska.

[AR 31-67]

   II.      Assistant Secretary Newland Grants the Central Council’s petition to take
            its fee land into trust to restore the tribe’s “traditional homelands.”

         On the same day Interior issued the new solicitor opinion, the Assistant Secretary

granted the Tribe’s petition to take a 787 square foot parcel—currently enclosed by a

fence and not being used by Central Council—into trust, and proclaim it a new

reservation, after concluding that the acquisition met the requirements contained in

25 C.F.R. Part 151. [AR 1-17; 125-29] This parcel is located in downtown Juneau; the

state’s capital.




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 34 of 61

         Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 34 of 61
       When the subject land is “off-reservation” the regulations require, among other

considerations, the Assistant Secretary to consider the impact to the State.97 Specifically,

§ 151.11(b) requires the Assistant Secretary to consider “[t]he land relative to state

boundaries, and its distance from the boundaries of the tribe’s reservation.” “[A]s the

distance between the tribe’s reservation and the land to be acquired increases, the

Secretary shall give greater scrutiny to the tribe’s justification of anticipated benefits

from the acquisition.”98 This includes giving “greater weight to the concerns” raised by

the State regarding the acquisition.99 Specifically, the Secretary must consider concerns

regarding “the acquisition’s potential impacts on regulatory jurisdiction, real property

taxes and special assessments.”100

       The Assistant Secretary found that the Tribe’s petition met these requirements.101

Of greatest significance to this litigation, the Secretary rejected the State’s concerns over

his authority, concluding that section 5 of the IRA “was not repealed or otherwise

amended” by any post-IRA enactments, including ANCSA, and was not impacted by the

Supreme Court’s decision in Carcieri v. Salazar.102 [AR 5] The Assistant Secretary

adopted the Tribe’s position that the acquisition was necessary to “meet [the Tribe’s]



97
       25 C.F.R. § 151.11(b) & (d).
98
       25 C.F.R. § 151.11(b).
99
       Id.
100
       25 C.F.R. § 151.11(d).
101
       See 25 C.F.R. § 151.11(a), (b) & (d).
102
       555 U.S. 379 (2009).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 35 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 35 of 61
need to regain land that it previously lost and to consolidate existing tribal landholdings.”

[AR 6] He also found that “the ability to hold title in trust can enhance the Tribe’s

eligibility for federal programs based on the ownership of Indian trust or restricted land.”

[AR 6] On the territorial jurisdictional issue, the Assistant Secretary did not consider the

near non-existence of Indian country in Alaska. Instead, he noted that the State will retain

criminal jurisdiction under Public Law 83-280. [AR 8] And “[a]lthough State and local

governments generally do not have regulatory jurisdiction or taxation authority over trust

land, even in PL-280 states,” the Secretary appeared to conclude this was not a concern

because “Alaska State courts will generally continue to serve as an available forum for

civil disputes.” [AR 8]

       Of all the Assistant Secretary’s findings, the most difficult to reconcile with

ANCSA’s extinguishment of aboriginal claims was how he addressed § 151.11(b) and

the distance between the Tribe’s property and its reservation. [AR 11] Correctly noting

that the Tribe “does not have a reservation” because “ANCSA revoked the various

reserves that had been set aside for Alaska Native groups or for the administration of

Native Affairs,” he concluded that the Tribe does have “recognized traditional

homelands.” [AR 11] He further reasoned that the subject property is located within the

“traditional Juneau Indian Village” and the “Tribe’s ancestors used areas in and around

Southeast Alaska . . . as their traditional and cultural homeland since time immemorial.”

[AR 11] As such, the Secretary believed this acquisition satisfied the IRA’s purposes




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 36 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 36 of 61
because it would result in the “restoration of Indian lands” and would “allow the Tribe to

access federal funding and grants only available for trust lands.” [AR 12]

       Of note, the Assistant Secretary also addressed the Tribe’s request for a

reservation proclamation to establish “an initial reservation for the Tribe” under section 7

of the IRA. The Secretary called the State’s concerns about this request “misplaced,”

saying “[a] reservation proclamation is simply an administrative function that allows

tribes to take advantage of special federal assistance programs.” [AR 12] Although his

final resolution of this issue is unclear based on this record, the Assistant Secretary

indicated that “[s]ubject to the expiration of the 30-day notice period, and following the

transfer of the property to trust status, [he would] issue a reservation proclamation.”

[AR 13] The 30-day notice period was triggered by the decision to grant the Tribe’s

petition. [Id.]

                               STANDARD OF REVIEW

       This Court does not uphold an agency action under the Administrative Procedures

Act if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.”103 If the Court concludes that the agency made an “error of law,” the Court’s

inquiry is at an end.104




103
       San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 994 (9th Cir.
2014) (citing 5 U.S.C. § 706(2)(A)).
104
       Fed. Power Comm’n v. Idaho Power Co., 344 U.S. 17, 20 (1952) (When
reviewing an administrative decision, “the function of the reviewing court ends when an
error of law is laid bare.”).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 37 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 37 of 61
       This case implicates three competing doctrines that, if applicable, would impact

how the Court reviews the agency action: Chevron deference, the major question

doctrine, and an Indian canon of construction.

       Chevron deference does not apply. As an initial matter, next term the Supreme

Court will decide whether to overrule Chevron or it will at least address how it applies in

the face of statutory silence.105 Regardless of the outcome in that case, Chevron deference

is inapplicable to an opinion letter—such as the multiple Solicitor Opinions in this case—

because it does not carry the force of law.106 Nor is the opinion entitled to the respect

discussed in Skidmore v. Swift & Co.107 Courts give Skidmore-type deference to “well-

reasoned views” that reflect “a body of experience and informed judgment to which

courts and litigants may properly resort for guidance.”108 With the agency’s Solicitors

issuing three new substantive opinions over the last six years, an argument by Interior

that its new interpretation is consistent and something the parties can rely on would be

unreasonable.

       Aside from the questions surrounding the status of Chevron, there are other

reasons why the agency’s decision in this case is not entitled to deference—it implicates



105
       See Loper Bright Enterprises v. Raimondo, No. 22-451, 143 S. Ct. 2429 (2023).
106
       Christensen v. Harris Cnty., 529 U.S. 576, 587 (2000).
107
       323 U.S. 134, 140 (1944).
108
       Larson v. Saul, 967 F.3d 914, 924-25 (9th Cir. 2020) (internal quotation marks
omitted); see also id. (stating that the level of deference can “range from very little to
fully deferential, depending on the degree of the agency’s care, consistency, formality,
relative expertise, and the persuasiveness of the agency’s decision”).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 38 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 38 of 61
the major question doctrine. Whether Interior has the authority to shift the balance of

territorial jurisdiction in Alaska by creating Indian country presents a significant political

question.109 This requires the agency to “point to clear congressional authority for the

power it claims.”110

       There is also an Indian canon of construction that provides “statutes are to be

construed liberally in favor of the Indians, with ambiguous provisions interpreted to their

benefit.”111 This canon does not apply. The Ninth Circuit recognizes that this rule of

construction “operates with less force” when interpreting ANCSA because the canon’s

historical basis does not apply to the impacts of ANCSA on Alaska Natives.112

                                       ARGUMENT

       Even when an agency’s assertion of power has a “colorable textual basis,” there

are some cases—namely those in which the agency’s decision will have “vast ‘economic

and political significance’”—where the Supreme Court requires more than a “merely

plausible textual basis for the agency action.”113 This is now known as the major question


109
       W. Virginia v. EPA, 142 S. Ct. 2587, 2608-09 (2022) (explaining that there are
“extraordinary cases” in which “the economic and political significance” of the agency’s
assertion provide a “reason to hesitate before concluding that Congress” meant to confer
such authority (internal quotation marks omitted)).
110
       Id. at 2609.
111
       Montana v. Blackfeet Tribe of Indians, 471 U.S. 759, 766 (1985).
112
       United States v. Atlantic Richfield Co., 612 F.2d 1132, 1139 (9th Cir. 1980); see
also State of Alaska ex rel. Yukon Flats School Dist. v. Native Village of Venetie Tribal
Gov’t, 101 F.3d 1286, 1303 (9th Cir. 1996) (Fernandez, J., concurring).
113
       W. Virginia, 142 S. Ct. at 2608 (quoting FDA v. Brown & Williamson, 529 U.S.
120, 159-60 (2000)).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 39 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 39 of 61
doctrine. When applicable, it requires the agency to “point to ‘clear congressional

authorization’ for the power it claims.”114 It applies here.

I.     Whether to create Indian country in Alaska post-ANCSA is a “major
       question” requiring clear congressional authorization.

       Over the last two terms, the Supreme Court has had several opportunities to apply

and further explain the major question doctrine. In West Virginia v. EPA, the Court

applied the doctrine when the EPA promulgated a regulation that significantly altered the

agency’s longstanding application of the “standard of performance” requirement in the

Clean Air Act.115 The Court found relevant the fact that for the first 50 years the agency

exercised its authority, it had applied it one way.116 But now, the agency sought to dust

off a rarely used provision to regulate carbon dioxide pollution from existing power

plants.117 As stated by the Court, “[i]n arguing that Section 111(d) empowers it to

substantially restructure the American energy market, EPA ‘claim[ed] to discover in a

long-extant statute an unheralded power’ representing a ‘transformative expansion in [its]

regulatory authority.”118 The agency located this power in an “ancillary provision” of the

Clean Air Act that was designed to function as a gap filler, and the “Agency’s discovery




114
       Id. at 2609 (quoting Utility Air Regulatory Group v. EPA, 573 U.S. 302 (2014)).
115
       Id. at 2599.
116
       Id.
117
      Id. at 2602 (discussing 42 U.S.C. § 7411(d) and noting that EPA had “used it only
a handful of times since the enactment of the statute in 1970”).
118
       Id. at 2610 (quoting Utility Air, 573 U.S. at 324).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 40 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 40 of 61
allowed it to adopt a regulatory program that Congress had conspicuously and repeatedly

declined to enact itself.”119

       The concurrence in West Virginia offered further guidance on the scope and

application of the major question doctrine. Of particular importance here, the concurrence

noted that “major questions” often arise “when an agency seeks to ‘intrud[e] into an area

that is the particular domain of state law.”120

       This notion that major questions arise when a federal agency attempts “to

significantly alter the balance between federal and state power” was reaffirmed by the

Court in an opinion issued this term—Sackett v. EPA.121 There, the Court reviewed

EPA’s definition of “waters of the United States” under the Clean Water Act.122 In doing

so, it reiterated that it “require[s] Congress to enact exceedingly clear language if it

wishes to significantly alter the balance between federal and state power and the power of

the Government over private property.”123

       The most recent Supreme Court case to address the major question doctrine—

Biden v. Nebraska—provides further instruction.124 In that case, the Secretary of

Education used the Higher Education Relief Opportunities for Students Act of 2003


119
       Id; see also id. at 2621 (Gorsuch, J., concurring) (same).
120
       Id. at 2621 (Gorsuch, J., concurring) (internal quotation marks omitted).
121
       143 S. Ct. 1322, 1341 (2023).
122
       Id. at 1329.
123
       Id. (quoting United States Forest Service vs. Cowpasture River Preservation
Ass’n, 140 S. Ct. 1837, 1849-50 (2020)).
124
       143 S. Ct. 2355 (2023).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 41 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 41 of 61
(HEROS Act), which granted the Secretary the authority to waive or modify

requirements in federal student loan programs, to cancel roughly $430 million in federal

student loans.125 In rejecting the agency’s claim of power, the Court noted that “Congress

opted to make debt forgiveness available only in a few particular exigent circumstances;

the power to modify does not permit the Secretary ‘to convert that approach into its

opposite’ by creating a new program.”126

       Even before the Supreme Court’s more recent jurisprudence giving a name to this

doctrine, the Court applied the yet-to-be-named doctrine to the Alaska IRA.127 In 1948,

when it considered whether the Alaska IRA gave the Secretary the authority to dispose

finally of federal lands to create a reservation, the Court answered in the negative. It

concluded that “[i]t would take specific and unambiguous language” for the Court to rule

that Congress intended to authorize the Secretary to designate permanent reservations

including exclusive fishing grounds for the exclusive benefit of Alaska Natives.128 In its

view, for the Secretary to create a permanent reservation for Alaska Natives, there would

have to be “specific recognition by the United States of Indian rights to control absolutely

tribal lands.”129




125
       Id.
126
       Id. at 2369 (quoting Decamps v. United States, 570 U.S. 254, 274 (2013)).
127
       See Hynes v. Grimes Packing Co., 337 U.S. 86, 104 (1949).
128
       337 U.S. at 105.
129
       Id. at 107.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 42 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 42 of 61
       Turning to this case, the Secretary claims authority to rebalance territorial

jurisdiction in Alaska. While Congress extinguished all reservations (but one) and

expressed a clear intent to avoid reservation systems or lengthy warship or trusteeships,130

the Secretary claims the discretion to undue ANCSA’s $962 million settlement and the

authority to take an Alaskan tribe’s land into trust to create Indian country. After years of

angst over Interior’s reservation policy, the Assistant Secretary asserts that a “reservation

proclamation is simply an administrative function.” [AR 12] And while Congress

extinguished all aboriginal title in Alaska, all claims based on that title, and all “reserves

set aside . . . for Native use or for administration of Native affairs,”131 the Secretary

claims the need to take lands into trust to restore the Tribe’s “traditional homelands”—

i.e., “their traditional and cultural homeland since time immemorial.” [AR 11; see also

AR 6 (“The Tribe states that the Property is uniquely situated to meet its need to regain

land that it previously lost and to consolidate existing tribal landholdings.”)]

       In other words, the Secretary claims the authority to resurrect what Congress

extinguished—aboriginal title. A successful claim of aboriginal title requires a showing

of “actual, exclusive, and continuous use and occupancy ‘for a long time.’”132 The use

and occupancy requirement “is measured ‘in accordance with the way of life, habits,



130
       See 43 U.S.C. §§ 1603, 1618(a).
131
       See 43 U.S.C. § 1618(a).
132
       Native Village of Eyak v. Blank, 688 F.3d 619, 622 (9th Cir. 2012) (en banc)
(quoting Sac & Fox Tribe of Indians of Okla. v. United States, 383 F.2d 991, 998 (Ct. Cl.
1967)).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 43 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 43 of 61
customs and usages of the Indians who are its users and occupiers.’”133 Whatever the

Assistant Secretary’s test is for determining “traditional homeland” (he does not say), it

likely looks like the test for determining aboriginal title.134

       The agency’s decision not only alters the balance between federal and state power,

it also alters the power of the federal government over private property. “[P]rimary

jurisdiction over land that is Indian country rests with the Federal Government and the

Indian tribe inhabiting it, and not with the States.”135 By creating Indian country in

Alaska, the Secretary is shifting territorial jurisdiction away from the State and placing it

with itself and the Tribe. Prior to the Secretary exercising this authority, there were two

sovereigns with territorial jurisdiction in Alaska: the federal government and the State.136

Now there are three: the federal government, the State, and the Tribe. While this may not

seem significant here, given that this case is about a 787 square foot parcel, there are




133
       Id. (quoting Sac & Fox Tribe of Indians of Okla., 383 F.2d at 998).
134
        In addition to returning the Tribe’s “traditional homelands,” the Assistant
Secretary also contends the Tribe needs trust lands “to access federal funding and grants
only available to trust lands.” [AR 12] But that too is a question for Congress. When
Congress intends to make federal funding available to Alaska Natives, it knows how to
do it. See Yellen v. Confederated Tribes of Chehalis Reservation, 141 S. Ct. 2434, 2443
(2021) (holding that Alaska Native Corporations meet the definition of “Indian tribe”
under the Indian Self-Determination and Education Assistance Act and are therefore
entitled to CARES Act funding).
135
       Venetie, 522 U.S. at 527 n.1.
136
      The only exceptions are the Annette Islands Reserve and the small trust parcels in
Southeast Alaska. See supra n.48 and n.166.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 44 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 44 of 61
currently 227 federally recognized tribes in Alaska;137 that is potentially 227 different

sovereigns exercising territorial jurisdiction in the state.

        And, as the EPA had done in West Virginia, Interior now claims authority that

Congress expressly refused to delegate to the agency on its own. Congress looked at this

issue in the mid-1980s after AFN submitted a proposal that would have expressly

amended sections 5 and 7 and declined to act. “Given these circumstances, there is every

reason to ‘hesitate before concluding that Congress’” meant to confer on Interior “the

authority it [now] claims.”138

        Whether Indian country exists in Alaska post-ANCSA is a politically significant

question that implicates the State’s sovereign territory. It is a major question and, as such,

“[w]hether the concept of Indian country should be modified [in Alaska] is a question

entirely for Congress” and should not depend on the Secretary’s discretion.139

II.     The Secretary does not have clear congressional authority to create Indian
        country.

        A.    Post-ANCSA, the Secretary does not have the authority to create
              Indian country in Alaska.

        To determine whether the agency has “clear congressional authorization,” the

Court must analyze the statutory authority relied on by the agency and that provision’s




137
        88 Fed. Reg. 2115 (January 12, 2023).
138
        W. Virginia, 142 S. Ct. at 2610 (quoting Brown & Williamson, 529 U.S. at 159-
160).
139
        Venetie, 522 U.S. at 534.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 45 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 45 of 61
place within the overall statutory scheme.140 Additional factors for the Court to consider

include the agency’s historic interpretation and the age and purpose of the statute.141 Each

of these considerations weighs against the Secretary’s position.

       The Court cannot consider the Secretary’s authority to create Indian country in

Alaska without factoring in ANCSA. Unlike most other native land claims settlements,

ANCSA was a comprehensive, statewide settlement of all Native land claims in the

state.142 Congress explicitly revoked all reservations; discontinued individual allotments;

extinguished all aboriginal titles that may have existed; extinguished all future claims

based on aboriginal right, title use or occupancy; and extinguished all claims based on

any statute relating to Native use and occupancy.143 This framework simply did not

envision a federal agency having the discretion to resurrect aboriginal title in support of

the creation of Indian country.

       For those few tribes in Alaska that had a reservation, Congress provided a choice.

They could either select land pursuant to ANCSA § 12144 and receive distribution of

regional corporation funds pursuant to ANCSA § 7,145 or they could take reservation land



140
       W. Virginia, 142 S. Ct. at 2608.
141
       Id. at 2615; Id. at 2623 (Gorsuch, J., concurring) (“[A]n agency’s attempt to
deploy an old statute focused on one problem to solve a new and different problem may
also be a warning sign that it is acting without clear congressional authority.”).
142
       Venetie, 522 U.S. at 524.
143
       43 U.S.C. §§ 1603(b)-(c), 1617, 1618(a), and 1619.
144
       43 U.S.C. § 1611.
145
       43 U.S.C. § 1618.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 46 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 46 of 61
in fee.146 Even if the tribe decided to accept its reservation land in fee, Congress would

not preserve the reservation status; it would convey the land to the village corporation.147

       ANCSA also ended federal agencies’ authority to take land into trust for

individual Indians.148 Section 18 revoked Indian allotment authority for Alaska Natives

under the Act of February 8, 1887 (24 Stat. 289) and the Act of June 25, 1910 (36 Stat.

363).149 ANCSA also repealed the Alaska Native Allotment Act.150

       And if those provisions were not clear enough, Congress enacted a savings clause.

That provision provides that when there is a conflict between ANCSA and any other

Federal law applicable to Alaska, ANCSA controls.151

       At bottom, ANCSA left no room for the Secretary’s lands-into-trust authority, and

even if the Court reads the statutes as generously as possible to Alaska Natives, ANCSA

created doubt as to whether the Secretary’s lands-into-trust authority survives its

enactment.152 It is not only the State officials that have this doubt; Federal officials have




146
       43 U.S.C. § 1618.
147
       Id.
148
       See Venetie, 522 U.S. at 532 (“In no clearer fashion could Congress have departed
from its traditional practice of setting aside Indian lands.”).
149
       43 U.S.C. § 1617.
150
       Act of May 17, 1906, 34 Stat. 197.
151
       Pub. L. No. 92-203, § 26, 85 Stat. 715.
152
       Cape Fox Corp. v. U.S., 4 Cl. Ct. 223, 233-234 (U.S. Ct. Cl. 1983) (reaffirming
ANCSA’s purpose and saying that a “trustee-beneficiary relationship” should not be
created by “judicial fiat”).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 47 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 47 of 61
it as well. Recall that another consideration is the agency’s historic interpretation.153

Seven years after ANCSA, Interior’s then solicitor advised the Secretary that he would

abuse his discretion if he took lands in Alaska into trust. [AR 1534-36] Two years later,

Interior promulgated a regulation with the Alaska exception.154 Eight years later, with the

Solicitor’s opinion and the regulation on the books, Congress declined to act on AFN’s

request to amend the IRA to broaden the Secretary’s authority.155

       The last factor for the Court to weigh is the age and focus of the Alaska IRA. As

the Supreme Court described the issue, “it is unlikely that Congress will make an

extraordinary grant of regulatory authority through vague language in a long-extant

statute.”156 “[A]n agency’s attempt to deploy an old statute focused on one problem to

solve a new and different problem” is also a warning sign that it is not acting with clear

authority.157

       Here, the Secretary relies on the IRA as it is applied to Alaska through the Alaska

IRA. As discussed in more detail below, the IRA’s focus was to mitigate the harms from

the allotment era and to facilitate tribal self-governance. Even at the time, Congress

openly recognized that the provisions of the IRA would not apply to Alaska the same


153
       W. Virginia, 142 S. Ct. at 2608.
154
       Final Rule, Land Acquisitions, 45 Fed. Reg. 62034 (Sept. 18, 1980).
155
      Hrg., H.R. 4162 at p. 216; and Hrg. Before the Subcomm. On Public Lands,
Reserved Water and Resource Conservation of the Senate Comm. On Energy and Natural
Resources, 99th Cong., 2d Sess. at 165-66.
156
       W. Virginia, 142 S. Ct. at 2623 (Gorsuch, J., concurring) (cleaned up).
157
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 48 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 48 of 61
way they would apply in the Lower 48. The reason being Alaska simply did not have the

same kind of reservation system and did not suffer the same consequences from the

allotment era. Indeed, the main function of the Alaska IRA’s land provisions was to give

the Secretary the authority to define the territorial reach of the Alaska Natives’ tribal

governments. Congress addressed that question in ANCSA when it extinguished all

reservations and conveyed land to the Native Corporations. The Secretary’s present-day

use of the IRA’s lands-into-trust provision to address perceived faults with ANCSA is a

clear sign that the agency is acting without clear congressional authority.

       B.     Even prior to ANCSA, the Alaska IRA limited the Secretary’s
              authority for most Alaska tribes.

       Assuming the Court is not convinced that ANCSA had any impact on the

Secretary’s sections 5 and 7 authorities, the Court must still find clear congressional

authority within the IRA itself. That Act does not provide the clear statement required to

support the Secretary’s claim of authority.

       The IRA is a multi-purposed law directing some benefits to individuals with

indigenous ancestry and other benefits to tribes that were recognized and under federal

jurisdiction in 1934 as well as their members. As stated above, the law had two main

purposes: to mitigate the legacy of the allotment era and to give tribes the ability to

incorporate and get federal funding for economic projects.158 In Alaska, certain


158
         The purpose of the IRA was “[t]o stop the alienation” of lands belonging to
Indians, “[t]o provide for the acquisition, through purchase, of land for Indians, now
landless, “[t]o stabilize the tribal organization of Indian tribes, “[t]o permit Indian tribes .
. . to form[ ] business corporations, “[t]o supply Indians with means for collegiate and

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 49 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 49 of 61
provisions of the IRA—including the land-into-trust provision—applied to individuals

based on their “blood quantum,” while more limited provisions—excluding the land-into-

trust provision—apply to tribes that were recognized after 1936.

             Congress limited the IRA’s applicability to tribes that were recognized and under

federal jurisdiction as of 1934, members of those tribes, descendants of those tribal

members who were living on reservations in 1934, and persons who are at least one-half

Indian blood.159 These limitations are found in section 19 of the IRA which defines

“Indian” and “tribe.” [AR 3325 (codified at 25 U.S.C. § 5129)] An “Indian” falls into one

of three categories:

      (i)       “all persons of Indian descent who are members of any recognized Indian tribe
                now under Federal jurisdiction,”

      (ii)      “all persons who are descendants of such members who were, on June 1, 1934,
                residing within the present boundaries of any Indian reservation,” and

      (iii)     “all other persons of one-half or more Indian blood.”

[Id.] And a “tribe” “refer[s] to any Indian tribe, organized band, pueblo, or the Indians

residing on one reservation.” [Id.] The definition of “tribe” incorporates the definitions of

“Indian” above and means that in order for the IRA to apply to a tribe, the tribe must be




technical training in the best schools, and “[t]o open the way for qualified Indians to hold
positions in the Federal Indian Service.” Authorizing Indian to Form Business Councils,
Corporations, and For other Purposes, S. Rep. 1080, 73d Cong., 2d Sess. (May 10, 1934).
See also Mescalero Apache Tribe v. Jones, 411 U.S. 145, 152 (1973).
159
      25 U.S.C. § 5129; see also To Grant to Indians Living Under Federal Tutelage the
Freedom to Organize for Purposes of Local Self-Government and Economic Enterprise:
Hearings on S. 2755 and S. 3645 Before the S. Comm. On Indian Affairs (“Hearings on
S. 2755 and S. 3645”), 73d Cong. at 265-66 (May 17, 1934).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 50 of 61

              Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 50 of 61
recognized and under federal jurisdiction in 1934. [Id.]160 Congress wanted to maintain

“the status quo of the present reservation Indians” and further include persons having a

certain “Indian” blood quantum but wanted to draw the line somewhere “or the

Government would take on impossible financial burdens in extending wardship over

persons with a minor fraction of Indian blood.”161

       The first two categories of “Indian” do not apply to Alaska. The first category

applies to members of tribes that were recognized and under federal jurisdiction in

1934.162 Most tribes in Alaska were not recognized by the federal government until the

1990s.163 In the late 19th century, courts concluded that the United States had never

“recognized any tribal independence.”164 And around the time the IRA was passed,


160
       See also Carcieri v. Salazar, 555 U.S. 379 (2009).
161
       78 Cong. Rec. 11732 (June 15, 1934) (explanation of Representative Howard, co-
sponsor of Wheeler-Howard bill and Chairman of the House Committee on Indian
Affairs).
162
        See Carcieri, 555 U.S. at 379. Carcieri holds that tribes must have been under
federal jurisdiction in 1934, but it does not address whether tribes must also have been
recognized in 1934. In just the last eight years, the Department of the Interior has offered
conflicting opinions about whether federal recognition must have occurred by 1934. See
Sol. Op., The Meaning of “Under Federal Jurisdiction for Purposes of the Indian
Reorganization Act,” M-37029 (March 12, 2014) [AR 701-26]; Sol. Op., Withdrawal of
Solicitor’s Opinion M-37029, M-37055 (March 9, 2020); available at:
https://www.doi.gov/sites/doi.gov/files/m-37055.pdf (accessed on July 31, 2023); and
Sol. Op., Withdrawal of Certain Solicitor M-Opinions, Reinstatement of Sol. O. M-
37029, M-37070 (April 27, 2021); available at:
https://www.doi.gov/sites/doi.gov/files/m-37070.pdf (accessed on July 31, 2023). As
applied in Alaska, “now” might refer to the passage of the Alaska IRA on May 1, 1936,
rather than in 1934 when the IRA was passed.
163
       Federally Recognized Indian Tribe List Act of 1994, 108 Stat. 4791.
164
       See, e.g., In re Sah Quah, 31 F. 327, 329 (D. Alaska 1886).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 51 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 51 of 61
“Alaska Natives were perceived as being organized as villages rather than as tribes or

bands.”165 As for the federal government’s jurisdiction over indigenous peoples in Alaska

in 1934, John Collier, the Commissioner of Indian Affairs, explained that the Secretary’s

jurisdiction “over Indians up there” was limited in subject-matter and geographically

“scattered.” [AR 3434] He explained that Alaska Natives were, in 1934, “entitled to

educational aid [and] health aid, but otherwise are not under the guardianship of the

Government.”166

       The second category of “Indian” applies to descendants of tribal members who

were living on “reservations” in 1934. [AR 3325 (codified at 25 U.S.C. § 5129)] The

federal government did not adopt the same approach in Alaska as in the Lower 48 and

had not forced Alaska Natives to live on reservations. “Indian country,” as that term is

understood today to include reservations of tribal territorial jurisdiction, did not exist.167

       This leaves the third category of “Indian” as defined by the IRA, which applies in

Alaska. Today, tribal membership with a federally recognized tribe is firmly regarded as

a political affiliation.168 But in the 19th and early 20th centuries, “Indians” were often



165
       Case & Voluck, at 29 (3d. ed 2012).
166
       Hearings on S. 2755 and S. 3645, 73d Cong. at 265 (May 17, 1934).
167
       Egan, 369 U.S. at 51-52; see generally Petitioner State of Alaska’s Brief in State
v. Native Village of Venetie Tribal Government, 1997 WL 523883, *4-10 (compiling
numerous sources discussing lack of “Indian country” in Alaska). The Annette Islands
Reserve likely did not constitute “Indian country” in 1934 but falls within that definition
today; the reservation was not terminated by ANCSA, thus the lands are held in trust, and
the Metlakatla Indian Community is a federally recognized tribe.
168
       Morton v. Mancari, 417 U.S. 535, 553 n.24 (1974).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 52 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 52 of 61
defined by blood quantum related to race or ancestry. For instance, the Supreme Court in

1846 concluded that a “white man” who was living with and recognized by a tribe as a

tribal member, was not an “Indian” within the meaning of the 1934 Trade and Intercourse

Act, because “Indians are regarded as belonging to their race.”169 And in Felix Cohen’s

1942 edition of the Handbook of Federal Indian Law, Cohen explained that the “term

‘Indian’ may be used in an ethnological or legal sense. Ethnologically, the Indian race

may be distinguished from the Caucasian, Negro, Mongolian, and other races . . . . From

a legal standpoint, then, the biological question of race is generally pertinent, but not

conclusive.”170 For the 1934 Congress, the statutory terms “Indian descent” and “Indian

blood” describes ethnographical status.171

       But Congress did not, in the beginning of Alaska’s territorial days, view Alaska

Natives as Indians entitled to federal wardship.172 That began to change around the turn

of the 20th century. By the time Congress deliberated on the scope of the IRA, Alaska’s

Congressional delegate argued that the IRA should apply to “Alaska Indians who are



169
          See, e.g., United States v. Rogers, 45 U.S. 567 (1846). (concluding that a “white
man” who was recognized by a tribe as a tribal member, was not an “Indian” within the
meaning of the 1934 Trade and Intercourse Act, because “Indians are regarded as
belonging to their race”); Felix Cohen’s Handbook of Federal Indian Law, at 2 (1942 ed.)
(“The term ‘Indian’ may be used in an ethnological or legal sense. Ethnologically, the
Indian race may be distinguished from the Caucasian, Negro, Mongolian, and other races
. . . . From a legal standpoint, then, the biological question of race is generally pertinent,
but not conclusive.”).
170
       Felix Cohen’s Handbook of Federal Indian Law, at 2 (1942 ed.).
171
       Id.
172
       Id. at 404.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 53 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 53 of 61
pure-blood Indians and very much in need, and they are neglected, and they are Indians

pure and simple.”173

       Also complicating matters in Alaska was the debate about whether certain

indigenous peoples in Alaska (namely Eskimos and sometimes also Aleuts) were

“Indians.”

       This background helps illuminate why Congress amended the definition of

“Indian” in the IRA bill to clarify that all indigenous peoples of Alaska, no matter their

ethnographical race or ancestry, constituted Indians.174 For the same reason, the Alaska

Native Allotment Act applies to “any Indian or Eskimo of full or mixed blood.”175 This is

also why the Alaska Statehood Act disclaims title to property held by “any Indians,

Eskimos, or Aleuts (hereinafter called natives).”176 And this is why, when Anthony



173
       Hearings on S. 2755 and S. 3645, 73d Cong. at 265 (May 17, 1934).
174
        Cf. AR 3475 (earlier version of H.R. 7902 that does not clarify that “Indians”
include Eskimos and other aboriginal Alaskans), with AR 3325 (section 19 of the IRA)
(clarifying that Eskimos and other aboriginal peoples in Alaska are considered “Indian”).
175
       Act of May 16, 1906, ch. 2469, 34 Stat. 197.
176
       Statehood Act § 4. See also An Act to Establish an Alaska Game Commission,
52 Stat. 1169, § 2 (1938) (protecting Indians and Eskimos from certain gaming
regulations and defining “Indian” and “Eskimo” in Alaska by blood); Reindeer Industry
Act, § 15, 50 Stat. 900 (1937) (creating self-sustaining and exclusive reindeer industry for
natives of Alaska and defining “natives of Alaska” as “native Indians, Eskimos, and
Aleuts of whole or part blood inhabiting Alaska at the time of the Treaty of Cession” and
their descendants and the Indians who migrated to Alaska from Canada); An Act for the
Protection and Regulation of the Fisheries of Alaska, 48 Stat. 594 (1934) (regulating
fishing with exceptions for “native Indians” and defining “native Indians” as “members
of the aboriginal races inhabiting Alaska when annexed to the United States, and their
descendants of the whole or half blood”); Alaska Native Townsite Act, 44 Stat. 629
(1926) (authorizing townsites for “Indian or Eskimo of full or mixed blood”); Alaska

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 54 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 54 of 61
Dimond, the House of Representatives Delegate from the Territory of Alaska, was

discussing the IRA’s application in Alaska, he clarified that when he used the term

“Indians of Alaska,” he meant, “to include, of course, the Eskimos.”177

       The sentence in section 19 clarifying that Eskimos and all other Alaskan Natives

are also entitled to the benefits of the IRA, regardless whether they are ethnographically

considered “Indians” is not a stand-alone definition of “Indian.” It is a clarification—

found in most if not all contemporaneous legislation—so that certain ethnographically

distinct Alaskans were not excluded from the benefits of Indian legislation. Indeed,

Felix Cohen, concluded as much: “It seems to me that sec. 19 puts Eskimos on the same

basis as Indians. To qualify for the benefits of the [Wheeler-Howard] act they must meet

one of 3 criteria: tribal affiliation, tribal descent plus residence on a reservation, or the

half-blood test.” [AR 4427] And in 1937, Cohen and two other Assistant Solicitors

concluded that the sentence clarifying that all aboriginal peoples in Alaska are considered

“Indian” “should be read in conjunction” with the three criteria defining “Indian,”

otherwise “there would be no law as to what persons of Indian blood were eligible for

benefits and organization.” [AR 3266-69]

       In short, when Congress passed the IRA in 1934, the federal government had not

yet recognized tribes, jurisdiction over individual Alaska Native peoples was limited, and




Native Allotment Act, 34 Stat. 197 (1906) (authorizing allotments to “any Indian or
Eskimo of full or mixed blood”).
177
       78 Cong. Rec. 11830 (June 15, 1934).

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 55 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 55 of 61
federal benefits to individual Alaska Natives were defined by blood quantum related to

race or ancestry. This means that most provisions of the IRA were simply inapplicable to

Alaska. Indeed, Delegate Dimond from Alaska conceded that “[s]o far as Alaska is

concerned, not so many of the provisions of the bill can apply.”178 And prominent

attorney and executive member of the Alaska Native Brotherhood, William Paul, agreed

that there was “very little [in the bill] that can apply to Alaska, and that little appears to

be entirely beneficial—the matter of education principally,” and that “[s]ome people

without an understanding of the legal position of the Alaska native would think these

natives would come under the bill.” [AR 498]

       “As originally enacted, the IRA did not fully apply to Alaska, and was geared

more to the needs of existing Indian reservations[.]”179 Congress passed the Alaska IRA

to fix two problems.180 The first problem was an unintentional drafting error.181 The 1934

Act gave the Secretary authority to provide federal loans to Indian chartered

organizations in Alaska, but did not make applicable section 17, which authorized the

creation of such organizations. [AR 3314-3317] This inadvertent omission effectively

“nullified” the part of the act providing federal funding to Indian communities. [Id.]

       The second problem with applying the IRA in Alaska was “the peculiar nontribal

organizations under which the Alaska Indians operate.” [AR 3315] Even though


178
       78 Cong. Rec. 11830 (June 15, 1934).
179
       Case & Voluck, at 29.
180
       Cohen’s Handbook, at 413 (1942 ed.).
181
       Id.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 56 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 56 of 61
section 16, which allowed tribes to organize and create tribal governments, ostensibly

applied to Alaska, as Secretary of the Interior, Harold Ickes, described in 1936, “Indian

tribes do not exist in Alaska in the same sense as in [the] continental United States.”

[AR 3316] “In order, therefore, to define an Alaskan tribe it is necessary to identify it

with the land it occupies and in terms of the language of the act ‘reservation.’” [AR 3316-

17] He urged that “if native communities of Alaska are to set up systems of local

government,” the Secretary can set reservations to delineate “the geographical limits of

their jurisdictions.” [AR 3317]

       In his remarks to the committee, Secretary Ickes made an additional point, one that

ties back to the Organic Act of 1884 and the Act of 1891. He stated that “[a]n even more

important reason for the designation of reservation in Alaska” was the need for the

United States Government to fulfill “its moral and legal obligations in the protection of

the economic rights of the Alaska natives.” [AR 3371] The secretary argued that the land

occupied by Alaska Natives should have already been segregated for their use via the

1884 and 1891 Acts and that the authority granted to him via section 2 of the Alaska IRA

would “aid . . . in rectifying this condition, and in protecting the interests of the natives in

the future.” [Id.] Regarding application of section 5 (lands into trust) and section 7

(reservation proclamations) to Alaska, Secretary Ickes stated this was needed to aid “in

the establishment and the administration of [the] reservations” created via the broader

authority granted under the Alaska IRA. [Id.]




State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 57 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 57 of 61
       Congress fixed the first problem by making applicable in Alaska the provision

authorizing tribes to incorporate (and thereby receive federal funding). Congress resolved

the second problem by doing two things: First, in section 1, it allowed groups of Indians

not yet recognized by the federal government to organize as an IRA tribe and to

incorporate to receive federal funding. [AR 3306] Congress did not provide all the

benefits of the IRA to these new IRA tribes, just the authority to organize as a

government (section 16), incorporate as an economic entity (section 17), and receive

federal funding (section 10). [Id.] Second, in section 2, it allowed the Secretary to create

revocable reservations for Native Alaskans on certain land already occupied and being

used by them. [Id]182 Section 2 has since been repealed. [AR 1540]

       The first part of section 1 of the Alaska IRA incorporated some other provisions of

the 1934 Act and these sections had very limited application in Alaska. Again, Congress

did not make all these incorporated provisions applicable to new IRA tribes (i.e., tribes

“not heretofore [prior to 1936] recognized as bands or tribes”). Rather, Congress made

them applicable in Alaska to “Indians” and “tribes” as defined by section 19 of the IRA.

The incorporated provisions relevant to this case are sections 5 and 7. Section 5 allows

the Secretary to take land into trust for “an Indian tribe or individual Indian.” Because of

the narrow definition of tribe in Alaska, see supra above about section 19, the land-into-

trust provision applies to individual Indians who meet the blood quantum requirement,

but it does not apply to tribes unless they were recognized and under federal jurisdiction


182
       Hynes, 337 U.S. at 86.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 58 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 58 of 61
in 1934.183 Section 7 allows for the creation of new reservations or adding to existing

reservations from lands acquired under the Act, but it is not clear how it could apply in

Alaska except, perhaps, by adding lands to the Annette Islands Reserve. Because the

Secretary can take section 5 lands into trust for individuals only, and not also for tribes

(as defined by section 19), it is not clear how the Secretary can turn trust land for an

individual into reservation land for a tribe. To the extent Secretary Ickes intended

sections 5 and 7 of the IRA to make “a smoother and more efficient administration” of

section 2 of the Alaska IRA, section 19’s limited definition curtails that interpretation.

       Any contrary interpretation—i.e., that the Secretary can take lands in trust for and

create reservations for tribes that were not then recognized and under federal

jurisdiction—is not only divorced from the statutes’ text but makes little sense. The

IRA’s land-into-trust and new reservation provisions are limited to tribes that were

recognized and under federal jurisdiction in 1934 and their members.184 If this limitation

does not apply in Alaska that would mean that Congress gave more rights under the IRA

to Alaska Natives than to Lower 48 tribes. This interpretation makes little sense because

the main purpose of the land provisions in the IRA was to reverse the disastrous legacy of

the allotment era, a legacy that did not occur in Alaska.




183
       The Assistant Secretary did not decide whether Central Council met this
requirement and therefore acted contrary to law.
184
       Carcieri, 555 U.S. at 379.

State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 59 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 59 of 61
       An interpretation otherwise would also hide a mountain in a molehole—something

courts presume Congress does not do, especially when doing so would completely

change the jurisdictional balance in a state. Congress did not draft a specific provision for

creating reservations in Alaska only to hide in a 1936 cross-reference the Secretary’s

unfettered authority to create permanent and limitless reservations.

       Moreover, as Secretary Ickes explained, the purpose of the Alaska IRA’s section 2

land provision was to define the Alaska Natives’ territorial jurisdiction, including

fulfilling Congress’s promise in the 1884 Organic Act. But that limited purpose of the

Alaska IRA’s land provisions did not work as initially envisioned for the reasons already

discussed. So, Congress instead resolved the unanswered questions regarding land claims

and territorial jurisdiction through ANCSA.

                                       CONCLUSION

       “The question here is not whether something should be done; it is who has the

authority to do it.”185 Congress has not clearly delegated to the Secretary unfettered

authority to alter the balance of territorial jurisdiction in the state by creating Indian

country. To the contrary, Congress considered and rejected the creation of Indian country

when it passed ANCSA. And it considered and again rejected authorizing the creation of

Indian country when it amended ANCSA. For the foregoing reasons, the Court should

grant summary judgment in favor of the State of Alaska.



185
       Biden v. Nebraska, 143 S. Ct. 2355, 2372 (2023).


State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 60 of 61

        Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 60 of 61
       DATED: August 1, 2023.

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State of Alaska v. Newland, et al.       Civil Action No.: 3:23-cv-00007-SLG
Motion and Memorandum ISO Summary Judgment                       Page 61 of 61

       Case 3:23-cv-00007-SLG Document 16 Filed 08/01/23 Page 61 of 61
